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                  IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF HAWAII


  UNITED STATES OF AMERICA,                   CR. NO. 06-00079 JMS

              Plaintiff,                      ORDER DENYING DEFENDANT’S
                                              MOTION FOR COMPASSIONATE
        vs.                                   RELEASE, ECF NO. 2933

  DELILAH WILLIAMS,

              Defendant.


   ORDER DENYING DEFENDANT’S MOTION FOR COMPASSIONATE
                   RELEASE, ECF NO. 2933

                               I. INTRODUCTION

              Defendant Delilah Williams (“Defendant”) moves, pursuant to 18

 U.S.C. § 3582(c)(1)(A)(i), for compassionate release from FCI Dublin, California.

 ECF No. 2933. The court determines that Defendant has failed to show

 extraordinary and compelling reasons to warrant release, and, even if she had, the

 court would deny the motion based on a consideration of the applicable 18 U.S.C.

 § 3553(a) factors. Thus, based on the following, the motion is DENIED.

                                II. BACKGROUND

              Defendant is a 36 year-old inmate incarcerated at FCI Dublin.

 Defendant began serving her sentence in July 2005, and is scheduled for release

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 from FCI Dublin on March 19, 2023. See ECF No. 2933 at PageID #66871;

 https://www.bop. gov/inmateloc/ (last visited August 10, 2020).

              On December 6, 2006, Defendant pled guilty to Count 2 of a First

 Superseding Indictment charging her with felony murder in the first degree in

 perpetration of part of a pattern and practice of assault and torture relating to the

 death of her five-year-old stepdaughter, Talia Williams. ECF Nos. 136, 184-86.

 The plea agreement, pursuant to Federal Rule of Civil Procedure 11(c)(1)(C),

 included an agreed-upon sentence of twenty years. ECF No. 186-3 at PageID

 #654. And the plea agreement was unusual—because the offense carried a

 statutory mandatory minimum of life imprisonment, the plea agreement required

 the United States to move the court to depart downward pursuant to 18 U.S.C.

 § 3553(e) to a sentence of twenty years if the defendant provided substantial

 assistance in the investigation and prosecution of her husband and co-defendant,

 Naeem Williams (“Naeem”). Id. at PageID #669-670. Defendant did cooperate,

 and testified in Naeem’s federal capital trial on March 14, 18, and 19, 2014. ECF

 Nos. 2448, 2450 & 2461. Ultimately, the court accepted the Rule 11(c)(1)(C) plea

 agreement, and on July 8, 2014, imposed a sentence of 20 years followed by 5

 years of supervised release. ECF Nos. 2871, 2882.




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                Defendant submitted a request for compassionate release to FCI

 Dublin’s Warden, which was denied on June 22, 2020. See ECF No. 2933-3 at

 Page ID #66899.

                Defendant, represented by counsel, filed the instant motion for

 compassionate release on July 20, 2020, seeking a sentence reduction to time

 served with the imposition of home confinement upon release. ECF No. 2933 at

 PageID #66891. On August 5, 2020, the Government filed its Response. ECF No.

 2939. The court decides the motion without a hearing pursuant to Local Rule

 7.1(c).

                                      III. DISCUSSION

 A.    Legal Standard

                Defendant moves for compassionate release under 18 U.S.C.

 § 3582(c)(1)(A), as amended by the First Step Act of 2018,1 which provides as

 relevant:

                [T]he court, upon motion of the Director of the Bureau of
                Prisons, or upon motion of the defendant after the
                defendant has fully exhausted all administrative rights to
                appeal a failure of the Bureau of Prisons to bring a
                motion on the defendant’s behalf or the lapse of 30 days
                from the receipt of such a request by the warden of the
                defendant’s facility, whichever is earlier, may reduce the
                term of imprisonment . . . after considering the factors set

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           Pub. L. No. 115-391, 132 Stat. 5194 (Dec. 21, 2018).

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              forth in [18 U.S.C.] section 3553(a) to the extent that
              they are applicable, if it finds that—

                    (i) extraordinary and compelling reasons warrant
              such a reduction;
              ....
              and that such a reduction is consistent with applicable
              policy statements issued by the Sentencing
              Commission[.]

              Thus, the court may reduce Defendant’s sentence if: 1) Defendant has

 exhausted the required administrative remedies; 2) Defendant has shown that

 “extraordinary and compelling reasons” warrant the reduction; and 3) the reduction

 is consistent with applicable Sentencing Commission’s policy statements. Here,

 the Government concedes the first prong—Defendant has exhausted her

 administrative remedies. ECF No. 2939 at PageID #67122.

              The United States Sentencing Commission’s policy statement, United

 States Sentencing Guideline (“Guideline”) § 1B1.13, provides, as relevant to

 Defendant, that the court may grant a motion for compassionate release only if,

 after consideration of the applicable § 3553(a) factors, the court determines that

 extraordinary and compelling reasons exist to warrant a sentence reduction, the

 defendant is not a danger to another person or to the community, and a sentence

 reduction is consistent with the policy statement.




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              Guideline §1B1.13 provides three specific examples of extraordinary

 and compelling reasons for compassionate release—the defendant’s terminal

 medical condition, deterioration of health due to advanced age, and extenuating

 family circumstances—along with a fourth, catch-all provision granting discretion

 to the Bureau of Prisons (“BOP”) Director to determine whether other

 extraordinary and compelling reasons exist. See Guideline § 1B1.13 n.1(A)-(D).

 In a detailed analysis, this court previously determined that the “discretion to

 determine whether ‘other’ extraordinary and compelling reasons exist granted by

 [Guideline § 1B1.13 n.1(D)] to the BOP Director applies equally to the court when

 ruling on motions for compassionate release.” United States v. Hernandez, 2020

 WL 3453839, at *4 (D. Haw. June 24, 2020). The court incorporates that analysis

 here.

 B.      Extraordinary and Compelling Reasons Do Not Warrant Release

              Defendant bears the burden to establish extraordinary and compelling

 reasons to warrant compassionate release. See, e.g., United States v. Bolden, 2020

 WL 4286820, at *3 (W.D. Wash. July 27, 2020); United States v. Proudfoot, 2020

 WL 4284128, at *4 (D. Or. July 27, 2020). Here, Defendant contends that she is at

 grave risk of severe illness or death from the COVID-19 pandemic because she is:

 (1) severely obese (with a BMI between 40.1 and 42.2), is prediabetic, and has


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 been diagnosed with hypertension (currently in remission), see ECF No. 2933 at

 PageID #66872, 66878; and (2) at risk while incarcerated at FCI Dublin, id. at

 PageID #66876-77.

              The court addresses each of these arguments and finds that Defendant

 has not shown that extraordinary and compelling reasons warrant her release from

 custody.

              As to her first contention, the court agrees that Defendant has an

 underlying medical condition that places her at an increased risk for severe illness

 from COVID-19. According to the Centers for Disease Control and Prevention

 (“CDC”), individuals with “[o]besity (body mass index [BMI] 30 or higher” fall

 into this high risk category. See https://www.cdc.gov/coronavirus/2019-

 ncov/need-extra-precautions/people-with-medical-conditions.html (last visited

 August 10, 2020). A person with hypertension might be at an increased risk. Id.

 In short, it is beyond question that Defendant’s severe obesity places her at an

 increased risk and her hypertension might place her at an increased risk.

              But, even with an increased risk, Defendant has not demonstrated that

 FCI Dublin is unsafe. The Bureau of Prisons (“BOP”) reports, as of August 10,

 2020, 0 inmates and 1 staff member with “confirmed active cases” of COVID-19

 at FCI Dublin. See https://www.bop.gov/coronavirus/ (COVID-19 resource page)


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 (last visited August 10, 2020).2 And although Defendant quibbles with the exact

 number of prior and present cases at FCI Dublin, she offers no evidence that FCI

 Dublin has had in the past or has now more than a very few cases.

               The court concludes based on the existing evidence that Defendant

 has failed to demonstrate that extraordinary and compelling reasons warrant

 release. Although Defendant’s severe obesity (and perhaps hypertension) place her

 at a higher risk if she contracts COVID-19, she has not shown that FCI Dublin is

 an unsafe BOP facility. 3 And to the extent that Defendant makes a more

 generalized argument regarding the risk of contracting COVID-19 in a BOP

 facility, the court disagrees. See, e.g., United States v. Drummondo-Farias, ___ F.

 Supp. 3d ___, 2020 WL 2616119, at *5 (D. Haw. May 19, 2020) (“Additionally,

 ‘[g]eneral concerns about possible exposure to COVID-19 do not meet the criteria

 for extraordinary and compelling reasons for a reduction in sentence set forth in the



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            FCI Dublin presently houses 816 female inmates. See bop.gov/locations/
 institutions/dub/ (last visited August 10, 2020).
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           Several courts have determined that obesity—alone or paired with hypertension—does
 not by itself provide adequate grounds for compassionate release. See e.g.,United States v.
 Lavatai, 2020 WL 4275258 (D. Haw. July 24, 2020); United States v. Wilfred, 2020 WL
 4365531, at *5 (E.D. La. July 30, 2020); United States v. Gordon, 2020 WL 3971013, at *3
 (E.D. Mich. July 14, 2020); United States v. Whiteman, 2020 WL 4284619, at *1 (E.D. Pa. July
 27, 2020; United States v. Takewell, 2020 WL 4043060, at *3 (W.D. La. July 17, 2020); United
 States v. Wax, 2020 WL 3468219, at *2-3 (D.N.J. June 25, 2020).



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 Sentencing Commission’s policy statement[.]’”) (quoting United State v. Eberhart,

 ___ F. Supp. 3d ___, 2020 WL 1450745, at *2 (N.D. Cal. Mar. 25, 2020)).

 C.     Section 3553(a) Factors

               Even if Defendant had demonstrated the required extraordinary and

 compelling reasons exist to warrant compassionate release, the court would deny

 the motion based on a consideration of the § 3553(a) factors.

               As relevant to this case, the § 3553(a) factors include: 1) the nature

 and circumstances of the offense and the history and characteristics of the

 defendant; 4 and 2) the need for the sentence imposed: (a) to reflect the seriousness

 of the offense, to promote respect for the law, and to provide just punishment for

 the offense; (b) to afford adequate deterrence to criminal conduct; (c) to protect the

 public from further crimes of the defendant; and (d) to provide the defendant with

 needed educational or vocational training, medical care, or other correctional

 treatment in the most effective manner. 18 U.S.C. § 3553(a)(1)-(2). And under the

 parsimony clause, the court must “impose a sentence sufficient, but not greater

 than necessary, to comply with the purposes set forth” in § 3553(a)(2).




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          As part of the § 3553(a) analysis, the court considers Defendant’s post-offense conduct,
 including her rehabilitation while in custody. See Pepper v. United States, 562 U.S. 476, 491
 (2011).

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              Defendant argues that a consideration of § 3553(a) factors

 demonstrate post-offense rehabilitation (for example, that she has taken 166

 courses while incarcerated and has served as an instructor and GED tutor), that she

 has family support, and that she is considered by BOP to be a “minimum risk for

 recidivism” and has a “low” security classification within BOP. ECF No. 2933 at

 PageID #66871. Even accepting all of these arguments as true, the court would

 nonetheless find that the motion should be denied given the nature of the offense

 conduct and the need for the sentence imposed to reflect the seriousness of the

 offense, to promote respect for the law, and to provide just punishment.

              Defendant’s testimony at Naeem’s trial established beyond any doubt

 her role in Talia’s murder, and her absolute callous and depraved actions in the

 torture of Talia over a period of months. At her sentencing, the court summarized

 Defendant’s role in Talia’s torture over this several month period:

              But what you did is undeniable. From your testimony on
              that stand that went on several days, it became clear to
              me that you wanted Talia to suffer. That in the end you
              were okay with her dying. That was the overall
              impression you left with me. To you Talia was just a
              nuisance, a problem in the household that needed to go
              away. And week after week after week you jointly
              tortured this child. And the hardest part of your
              testimony in my regard, from my perspective sitting here
              is that when you did that it almost seems as if it provided
              you with a sense of satisfaction, with relief that you
              would beat her. That it satisfied a need of yours.

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              And so even after the fatal blow on July 16th that you did
              not engage in with Talia, put in that bare room of hers, no
              bed, no blanket, no furniture, no toys, no anything, a
              single poster on the wall, she’s left there while still
              breathing, while you and Naeem take care of business.
              Still at that point in time certainly knowing this girl was
              dead or was dying and in dire need of medical attention
              immediately, you waited. That was a joint decision the
              two of you made, to wait. Because throughout this time
              period your comfort, your needs greatly outweighed
              those of Talia.
              And your testimony as to what happened on June 29th,
              it’s hard to put into words, that testimony. To provide
              sort of a snapshot of what that testimony was. Shocking,
              horrific, unbelievable, inhumane. You testified to the
              following: After beating her with a belt on that day,
              quote, I started stomping on her and I just continued
              stomping on her until I felt like a bone cracked under my
              foot and she ended up defecating on herself.
              Well, what happens then? You get more upset. You put
              her on the toilet downstairs and push on her stomach.
              And Talia, doing what any human being would do, dug
              her nails into you, and you got more upset. And you
              testified, I started pushing harder on her stomach and
              then I pushed so hard to the point the toilet broke or it
              was leaking. And then I got mad even more. And I
              grabbed her by the hair and I slammed her against the
              wall leaving a dent. And then I told her to go back
              upstairs to her room and I told her to stay in there. And
              then the most shocking part of all this testimony: And I
              left to go get my nails done.
              And you testified as to the events and the beating with
              the same calmness that you explained you went and got
              your nails done. As if you deserved a special treat after
              inflicting the pain you did on that little girl.


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               This testimony was absolutely chilling. I remember
               sitting right here during this testimony and thinking to
               myself: This courthouse has certainly never heard
               testimony of this sort before. And probably very few
               courthouses anywhere have. And I say that based on two
               different reasons. First, the substance of what was being
               said. The cruel, inhumane, depraved, unimaginable
               treatment that’s just hard to put in words.
               And second, the way it was said. Its tone. The matter-
               of-fact statements that you made, barely shedding a tear
               throughout days of testimony. Again, leaving me with
               the impression that you enjoyed those beatings. You
               enjoyed it to the extent that afterwards you went and got
               a manicure.
               . . .I can only come to one conclusion, Ms. Williams, and
               I’ve never said this in my tenure as a judge, but [the
               AUSA] was right, you were wicked, you were evil. You
               knowingly and seemingly with pleasure engaged in a
               regular practice of torturing Talia, a girl who is five --
               four and turned five while in your custody, barely 40
               pounds.
  ECF No. 2938 at PageID #67102-105.

               In sum, the court finds that Defendant has not established the requisite

  extraordinary and compelling reasons to warrant compassionate release. And,

  even if she did, the court would deny the motion taking into account the relevant

  § 3553(a) factors.

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                                    IV. CONCLUSION

                For the foregoing reasons, Defendant’s motion for compassionate

  release, ECF No. 2933, is DENIED.

                IT IS SO ORDERED.

                DATED: Honolulu, Hawaii, August 10, 2020.



                                                          /s/ J. Michael Seabright
                                                         J. Michael Seabright
                                                         Chief United States District Judge




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